Case 8:20-cv-01853-DMG-PVC Document 33 Filed 09/30/21 Page 1 of 2 Page ID #:357



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   8                               UNITED STATES DISTRICT COURT
   9                           CENTRAL DISTRICT OF CALIFORNIA
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  11   GABRIEL OMAR MARTINEZ,                            Case No. SACV 20-1853 DMG (PVC)
  12                 Petitioner,
               v.                                        ORDER ACCEPTING FINDINGS,
  13                                                     CONCLUSIONS AND
       WARDEN FCI HAZELTON,                              RECOMMENDATIONS OF UNITED
  14                                                     STATES MAGISTRATE JUDGE
                             Respondent.
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  17          Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the records and
  18   files herein, the Report and Recommendation of the United States Magistrate Judge, and
  19   Petitioner’s Objections. After having made a de novo determination of the portions of the
  20   Report and Recommendation to which Objections were directed, the Court concurs with
  21   and accepts the findings and conclusions of the Magistrate Judge.
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  23          In the Objections, Petitioner re-argues the grounds for his immediate release and
  24   requests, if the Court is not inclined to grant the Petition, that this action be transferred to
  25   the sentencing judge in his criminal case as either a motion for compassionate release
  26   under 18 U.S.C. § 3582(c)(1)(A) or a habeas petition under 28 U.S.C. § 2241. But
  27   Petitioner has already filed a substantively identical motion for compassionate release in
  28   his criminal case, which was denied. See United States v. Gabriel Omar Martinez, C.D.
Case 8:20-cv-01853-DMG-PVC Document 33 Filed 09/30/21 Page 2 of 2 Page ID #:358
